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  14
  15                           UNITED STATES DISTRICT COURT
  16                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  17
  18 Universal City Studios Productions      Case No. 17-cv-07496-MWF(AS)
     LLLP; Columbia Pictures Industries,
  19 Inc.; Disney Enterprises, Inc.;
     Twentieth Century Fox Film              FIRST AMENDED COMPLAINT
  20 Corporation; Paramount Pictures
     Corporation; Warner Bros.               DEMAND FOR JURY TRIAL
  21 Entertainment Inc.; Amazon Content
     Services, LLC; Netflix Studios, LLC,
  22
                  Plaintiffs,
  23
            vs.
  24
     TickBox TV LLC; Jeffrey Goldstein;
  25 Carrla Goldstein
  26                   Defendants.
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                                                             FIRST AMENDED COMPLAINT
                                                          CASE NO. 2:17-CV-07496-MWF(AS)
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   1            Plaintiffs Universal City Studios Productions LLLP (“Universal”), Columbia
   2 Pictures Industries, Inc. (“Columbia”), Disney Enterprises, Inc. (“Disney”),
   3 Twentieth Century Fox Film Corporation (“Fox”), Paramount Pictures Corporation
   4 (“Paramount”), Warner Bros. Entertainment Inc. (“Warner Bros.”), Amazon
   5 Content Services, LLC (“Amazon”), and Netflix Studios, LLC (“Netflix”)
   6 (collectively, “Plaintiffs”) bring this First Amended Complaint against TickBox TV
   7 LLC (“TickBox”), Jeffrey Goldstein and Carrla Goldstein (“Goldsteins”),
   8 (collectively, “Defendants”) under the Copyright Act (17 U.S.C. § 101 et seq.).
   9 This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1338(a),
  10 and 17 U.S.C. § 501(b). Plaintiffs allege, on personal knowledge as to themselves
  11 and information and belief as to others, as follows:
  12                                    INTRODUCTION
  13            1.    Defendants sell “TickBox TV,” a computer hardware device that
  14 Defendants urge their customers to use as a tool for the mass infringement of
  15 Plaintiffs’ copyrighted motion pictures and television shows (“Plaintiffs’
  16 Copyrighted Works”). Defendants tell customers to “plug the Tickbox TV into your
  17 current television and enjoy unlimited access to ALL the hottest TV shows,
  18 Hollywood blockbusters and LIVE sporting events in one convenient little device …
  19 ABSOLUTELY FREE.” And Defendants promote the device as the means to “cut
  20 the cord” if “you’re sick of paying high monthly fees and expensive bills for your
  21 regular cable bill and premium cable channels like HBO and SHOWTIME … [o]r if
  22 you’re tired of wasting money with online streaming services like Netflix, Hulu or
  23 Amazon Prime.”
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  15            2.   What Defendants actually sell is nothing less than illegal access to
  16 Plaintiffs’ copyrighted content. It works like this: Defendants distribute and
  17 promote the TickBox TV “box,” the black box in the right-hand side of TickBox’s
  18 ad shown above. TickBox TV uses software to link TickBox’s customers to
  19 infringing content on the Internet. When those customers use TickBox TV as
  20 Defendants intend and instruct, Defendants’ customers have nearly instantaneous
  21 access to multiple sources that stream Plaintiffs’ Copyrighted Works without
  22 authorization. These streams are illegal public performances of Plaintiffs’
  23 Copyrighted Works.
  24            3.   For the customers who use TickBox TV, the device provides the
  25 hallmarks of subscribing to authorized streaming services, with one notable
  26 exception: the customers only pay money to Defendants, not to Plaintiffs and other
  27 content creators upon whose works Defendants’ business depends. Plaintiffs bring
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   1 this action to stop Defendants’ intentional inducement of, and knowing and material
   2 contribution to, the widespread infringement of Plaintiffs’ rights.
   3                                       THE PARTIES
   4            4.   Plaintiff Universal City Studios Productions LLLP is a limited liability
   5 limited partnership duly organized under the laws of the State of Delaware with its
   6 principal place of business in Universal City, California. Universal owns or controls
   7 the copyrights or exclusive rights in the content that it or its affiliates produce or
   8 distribute.
   9            5.   Plaintiff Columbia Pictures Industries, Inc. is a corporation duly
  10 incorporated under the laws of the State of Delaware with its principal place of
  11 business in Culver City, California. Columbia owns or controls the copyrights or
  12 exclusive rights in the content that it or its affiliates produce or distribute.
  13            6.   Plaintiff Disney Enterprises, Inc. is a corporation duly incorporated
  14 under the laws of the State of Delaware with its principal place of business in
  15 Burbank, California. Disney owns or controls the copyrights or exclusive rights in
  16 the content that it or its affiliates produce or distribute.
  17            7.   Plaintiff Twentieth Century Fox Film Corporation is a corporation duly
  18 incorporated under the laws of the State of Delaware with its principal place of
  19 business in Los Angeles, California. Fox owns or controls the copyrights or
  20 exclusive rights in the content that it or its affiliates produce or distribute.
  21            8.   Plaintiff Paramount Pictures Corporation is a corporation duly
  22 incorporated under the laws of the State of Delaware with its principal place of
  23 business in Los Angeles, California. Paramount owns or controls the copyrights or
  24 exclusive rights in the content that it or its affiliates produce or distribute.
  25            9.   Plaintiff Warner Bros. Entertainment Inc. is a corporation duly
  26 incorporated under the laws of the State of Delaware with its principal place of
  27 business in Burbank, California. Warner Bros. owns or controls the copyrights or
  28 exclusive rights in the content that it or its affiliates produce or distribute.
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   1            10.   Plaintiff Amazon Content Services, LLC is a corporation duly
   2 incorporated under the laws of the State of Delaware with its principal place of
   3 business in Seattle, Washington. Amazon owns or controls the copyrights or
   4 exclusive rights in the content that it or its affiliates produce or distribute.
   5            11.   Plaintiff Netflix Studios, LLC is a limited liability company under the
   6 laws of the State of Delaware with its principal place of business in Los Angeles,
   7 California. Netflix owns or controls the copyrights or exclusive rights in the content
   8 that it or its affiliates produce or distribute.
   9            12.   Plaintiffs have obtained Certificates of Copyright Registration for their
  10 Copyrighted Works. Exhibit A contains a representative list of titles, along with
  11 their registration numbers, as to which TickBox has contributed to and induced
  12 infringement and continues to contribute to and induce infringement.
  13            13.   TickBox TV LLC is a corporation duly incorporated under the laws of
  14 the State of Georgia with its principal place of business at 5887 Glenridge Dr., #400,
  15 Sandy Springs, GA 30328.
  16            14.   Jeffrey Goldstein is the CEO of TickBox TV LLC. Jeffrey Goldstein is
  17 a resident of Atlanta, Georgia.
  18            15.   Carrla Goldstein is the “100% owner and manager and organizer of”
  19 TickBox TV LLC. Carrla Goldstein is a resident of Atlanta, Georgia. As CEO and
  20 sole owner, manager and organizer of TickBox TV LLC, the Goldsteins control
  21 Tickbox TV LLC, and all three Defendants act in concert in causing and carrying
  22 out the unlawful conduct set forth herein.
  23                               JURISDICTION AND VENUE
  24            16.   This Court has subject matter jurisdiction over this Complaint pursuant
  25 to 28 U.S.C. §§ 1331, 1338(a), and 17 U.S.C. § 501(b).
  26            17.   Defendants operate an interactive website (www.tickboxtv.com), where
  27 Defendants conduct online sales, offers “live chat” technical support, and promote
  28 the TickBox TV device. This website is available to and used by California
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   1 residents. TickBox TV’s widespread and growing popularity is reflected in the
   2 roughly half a million unique visitors per month to its website.
   3            18.   Defendants sell and ship TickBox TV devices to California residents.
   4 They also provide ongoing technical support to California residents and manages
   5 TickBox TV units remotely by facilitating automatic software updates to TickBox
   6 TV customers who reside in California. Defendants utilize the services of
   7 companies in California, including Facebook, YouTube, Twitter, and Google+ to
   8 advertise and promote TickBox TV to potential customers in California.
   9            19.   Defendants also knowingly and intentionally target Plaintiffs and the
  10 State of California by openly encouraging TickBox TV customers in California and
  11 elsewhere to obtain “free” streams of infringing content rather than “wasting money
  12 with online streaming services like Netflix, Hulu or Amazon Prime.” Defendants
  13 encourage these customers to use TickBox TV to obtain infringing access to
  14 “Hollywood blockbusters,” further demonstrating its intent to target Plaintiffs and
  15 the State of California. Defendants further use Plaintiffs’ or their affiliates’
  16 trademarks for television channels (e.g., the Disney Channel) to demonstrate the
  17 range of available infringing content, and to advertise the availability of the latest
  18 “Hollywood blockbusters.”
  19            20.   Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b),
  20 1400(a).
  21                                   FACTUAL OVERVIEW
  22 Plaintiffs and Their Copyrighted Works
  23            21.   Plaintiffs or their affiliates produce and distribute some of the most
  24 popular and critically acclaimed motion pictures and television shows in the world.
  25            22.   Plaintiffs or their affiliates have invested (and continue to invest)
  26 substantial resources and effort each year to develop, produce, distribute, and
  27 publicly perform their Copyrighted Works.
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   1            23.   Plaintiffs or their affiliates own or have the exclusive U.S. rights
   2 (among others) to reproduce, distribute, and publicly perform Plaintiffs’
   3 Copyrighted Works, including by means of streaming those works over the Internet
   4 to the public.
   5            24.   Plaintiffs authorize the distribution and public performance of their
   6 Copyrighted Works in various formats and through multiple distribution channels,
   7 including, by way of example: (a) for exhibition in theaters; (b) through cable and
   8 direct-to-home satellite services (including basic, premium, and “pay-per-view”);
   9 (c) through authorized, licensed Internet video-on-demand services, including those
  10 operated by iTunes, Google Play, Hulu, and VUDU, as well as those operated by
  11 Netflix and Amazon (which are affiliates of the copyright-owners Netflix and
  12 Amazon that are Plaintiffs here); (d) for private home viewing on DVDs and Blu-
  13 ray discs; and (e) for broadcast on television.
  14            25.   Plaintiffs have not authorized Defendants, the operators of the third-
  15 party sites to which its TickBox TV links, or TickBox’s customers, to exercise any
  16 of Plaintiffs’ exclusive rights under the Copyright Act, 17 U.S.C. § 106.
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   1 Defendants’ Inducement of and Contribution to the Infringement of Plaintiffs’
     Copyrighted Works
   2
   3      The TickBox TV Experience
   4            26.   TickBox TV is easy for customers to install and operate. Customers
   5 need only connect TickBox TV to the Internet and a screen (computer monitor or
   6 television) to operate. Defendants’ marketing materials illustrate how easy it is to
   7 install TickBox TV (the device itself appears within the red circle in TickBox’s ad
   8 below, underneath the words, “just plug and play!”):
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   1            27.   Defendants market the TickBox device as one that gives their
   2 customers direct access to “the largest online media library on the planet,” with
   3 “virtually all the channels you get from your local cable company,” and “without
   4 you having to worry about paying rental fees or monthly subscriptions.”
   5            28.   TickBox TV primarily utilizes two types of software programs. The
   6 first is a software media player called “Kodi.” Kodi is a third-party “open source”
   7 media player, meaning that it operates with many different programs and file
   8 formats. Kodi is recognized as the most popular media player for supporting
   9 software “addons.” An addon is a software program that runs in conjunction with an
  10 underlying software program (like Kodi) to provide functionality over and above the
  11 functionality that the underlying software provides.
  12            29.   TickBox TV also uses individual addons that are designed and
  13 maintained for the overarching purpose of scouring the Internet for illegal sources of
  14 copyrighted content and returning links to that content. When TickBox TV
  15 customers click those links, those customers instantaneously receive unauthorized
  16 streams of popular motion pictures and television shows.
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                                       FIRST AMENDED COMPLAINT
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    1            30.   From the customer’s perspective, TickBox TV works as follows. First,
    2 the customer boots up a newly delivered TickBox TV unit. The device prompts the
    3 customer to download “TickBox TV Player” software. As depicted below, the
    4 device then presents the customer with a home screen branded, “Welcome to
    5 TickBox TV.” This home screen directs the customer to various routes for
    6 obtaining infringing streams, including menu options labeled “WATCH MOVIES
    7 TV SPORTS,” “Select Your Theme,” and “3rd Party LIVE TV Suggestions.” The
    8 TickBox TV home menu also offers a link to a “One Click Webinar,” encouraging
    9 customers to “Learn how to view THOUSANDS of live tv channels for FREE!”
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                                       FIRST AMENDED COMPLAINT
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    1            31.   The home menu also displays a “Support” button. Upon clicking that
    2 button, the customer sees a screen with the title: “TICKBOX TV TECH &
    3 INSTALLATION VIDEOS. BEFORE YOU DO ANYTHING ELSE, START
    4 HERE!” The TickBox TV installation video guides the customer step-by-step
    5 through the process of using the TickBox TV device to obtain access to
    6 unauthorized streams.
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                 32.   The TickBox TV instructional video further instructs the customer
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        “how to” use the device to obtain infringing content. The tutorials include:
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        “TickBox TV How to watch a TV Show,” “TickBox TV How to search for a
   21
        Movie,” and “TickBox TV How to watch Live TV,” and “HOW TO DOWNLOAD
   22
        ADDONS TO YOUR TICKBOX TV.”
   23
                 33.   The TickBox TV instructional video urges the customer to use the
   24
        “Select Your Theme” button on the start-up menu for downloading addons. The
   25
        “Themes” are curated collections of popular addons that link to unauthorized
   26
        streams of motion pictures and television shows. Some of the most popular addons
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    1 currently distributed—which are available through TickBox TV—are titled
    2 “Elysium,” “Bob,” and “Covenant.”
    3            34.   After completing the set-up and downloading addons per Defendants’
    4 directions, the customers use TickBox TV for intended and unquestionably
    5 infringing purposes, most notably to obtain instantaneous, unrestricted, and
    6 unauthorized access to infringing streams of Plaintiffs’ Copyrighted Works.
    7            35.   As noted, “Covenant” is a very popular addon for accessing infringing
    8 content. It is one of the addons that Defendants make it easy for customers for
    9 download and use to access infringing streams. The customer opens Covenant
   10 through the TickBox TV device. Once opened, the customer sees the following
   11 welcome screen, which presents Defendants’ customer with 15 different categories
   12 and search options. These curated categories include selections of obviously
   13 popular and copyrighted content, such as “Box Office,” “In Theaters,” and “New
   14 Movies”:
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    1            36.   A TickBox TV customer who selected the “In Theatres” category on
    2 September 11, 2017, would have viewed 51 curated results (as circled), the first
    3 page of which is depicted below:
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                 37.   In the above example, the third listed title, Fox’s War for the Planet of
   17
        the Apes, was released to theaters on July 14, 2017. As of September 11, 2017, War
   18
        for the Planet of the Apes was not authorized for in-home viewing via video-on-
   19
        demand distribution, as its distribution was still limited exclusively to theaters. As
   20
        of September 11, 2017, several other of the above-listed titles were also not
   21
        authorized for video-on-demand distribution, as they were still being distributed
   22
        exclusively to theaters.
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    1            38.   Once the TickBox TV customer selects a particular title to stream, he or
    2 she has nearly instantaneous access to dozens of links to sources of unauthorized
    3 content. For example, the screenshot below shows a list of results for War for the
    4 Planet of the Apes.
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   18 As the result of just one search, a TickBox TV customer would have had access to
   19 44 different unauthorized sources for streaming War for the Planet of the Apes.
   20            39.   TickBox TV customers also have access to information about sources,
   21 including whether the source streams content in high-definition or standard-
   22 definition resolution. As the screenshot above shows, the sources for some movies
   23 that are still in theaters are listed as “CAM,” which indicates that the video was shot
   24 illegally by an individual using a camcorder or other recording device in a movie
   25 theater.
   26            40.   As depicted in the screenshot below, when a customer selects a source
   27 for War for the Planet of the Apes, TickBox TV presents a user-friendly interface
   28 with buttons to fast-forward, rewind, play, pause, stop, and turn on closed-
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    1 captioning, among others. With just a few clicks, a TickBox TV customer can
    2 access an infringing stream of a motion picture that can be seen legally only in
    3 theatres.
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                 Defendants Intentionally Induce Mass Infringement of Plaintiffs’
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                 Copyrighted Works
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                 41.   Defendants promote the use of TickBox TV for overwhelmingly, if not
   19
        exclusively, infringing purposes, and that is how its customers use TickBox TV.
   20
                 42.   Defendants advertise TickBox TV as a substitute for authorized and
   21
        legitimate distribution channels such as cable television or video-on-demand
   22
        services like Amazon Prime and Netflix. With a wink and a nod, Defendants tell
   23
        prospective customers they can “of course” still use “Amazon Video, Netflix or
   24
        Hulu on Tickbox TV”— but Defendants confidently predict that, “within a few days
   25
        of using Tickbox TV™ you will find you no longer need those subscriptions”
   26
        (because TickBox TV is intended to substitute for such services).
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    1            43.   Defendants promote TickBox TV as making it easy and efficient for
    2 customers to find and access infringing streams and copies of Plaintiffs’
    3 Copyrighted Works. TickBox highlights the ease of finding and watching content
    4 on TickBox TV in its online promotional videos, explaining that “the TickBox
    5 technology just sends the stream directly to your television … and the installation is
    6 as easy as plugging the box into the HDMI port on your TV.” 1
    7            44.   Defendants market TickBox TV as a way to “Get Instant Access to
    8 Any Movie, TV Show, or Sporting Events… Without Signing a Contract or Paying
    9 a Monthly Service Fee!” Defendants inform potential customers that once they
   10 purchase TickBox TV, all of the content they stream is “ABSOLUTELY FREE.”
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   24            45.   Defendants urge their customers to stream infringing content. TickBox
   25 promotional materials inform customers that “[y]ou can see almost every movie and
   26 TV series ever made. You can even access movies and shows that are still on
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       Tickbox TV, Tickbox TV, YOUTUBE, at 1:40-52,
   28 https://www.youtube.com/watch?v=c8eF7jiANGI.
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    1 Demand and episodes of TV that were just aired. You will never pay to watch any
    2 of them.”
    3            46.   Defendants boast that TickBox TV offers automatic software updates.
    4 Defendants explain that “most content will update daily and if the add on or app
    5 needs to be updated it will update automatically.” For example, in September 2017,
    6 the automatic update added the “Covenant” addon (described above) to the TickBox
    7 TV devices of customers who had set up their devices before Covenant was
    8 available on TickBox’s download menu. Defendants thereby ensure that TickBox
    9 TV customers will enjoy uninterrupted access to the most popular and up-to-date
   10 addons for obtaining access to infringing streams any time.
   11            47.   The commercial value of Defendants’ business depends on high-
   12 volume infringing use through the TickBox TV devices. TickBox’s revenues grow
   13 based on the growth in demand for the TickBox TV devices. The demand for
   14 TickBox TV is driven by the promise of free access to infringing content. These
   15 promises depend on and form an integral part of an ecosystem built on the mass
   16 infringement of Plaintiffs’ Copyrighted Works.
   17            48.   As the CEO and “100% owner and manager and organizer of” TickBox
   18 TV LLC, respectively, Jeffrey and Carrla Goldstein exercised complete control over
   19 the “business of TickBox TV LLC, including its products, marketing materials,
   20 website, and terms of service.” 2 In choosing to promote and market the TickBox
   21 device as a way for customers to “Get Instant Access to Any Movie, TV Show”
   22 “ABSOLUTELY FREE,” the Goldsteins intentionally and directly induced the
   23 widespread infringement of Plaintiffs’ Copyrighted Works.
   24            49.   The Goldsteins also exercise control over the TickBox TV interface,
   25 including the ability to pick and choose what addons are available for TickBox
   26
        2
   27  Declaration of Jeffrey Goldstein ¶ 2, ECF. 34-1 (Dec. 28, 2017); Amendment to
      LLC Articles of Organization of TickBox TV LLC on February 18, 2017, filed with
   28 State of Georgia Secretary of State, Corporations Division.
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    1 customers to download and install via the “Select your Theme” and other related
    2 menu options.
    3                                FIRST CAUSE OF ACTION
    4      (Intentionally Inducing the Infringement of Plaintiffs’ Copyrighted Works,
    5                                       17 U.S.C. § 106)
    6            50.   Plaintiffs incorporate herein by reference each and every averment
    7 contained in paragraphs 1 through 49 inclusive.
    8            51.   Defendants have actual knowledge of third parties’ infringement of
    9 Plaintiffs’ exclusive rights under the Copyright Act.
   10            52.   Defendants intentionally induce the infringement of Plaintiffs’
   11 exclusive rights under the Copyright Act, including infringement of Plaintiffs’
   12 exclusive right to publicly perform their works. As intended and encouraged by
   13 Defendants, their device connects customers to unauthorized online sources that
   14 stream Plaintiffs’ Copyrighted Works. The operators of these source repositories
   15 directly infringe Plaintiffs’ public performance rights by providing unauthorized
   16 streams of the works to the public, including to Defendants’ customers. These
   17 operators, or others operating in concert with them, control the facilities and
   18 equipment used to store and stream the content, and they actively and directly cause
   19 the content to be streamed when TickBox TV customers click on a link for the
   20 content.
   21            53.   Defendants induce the aforementioned acts of infringement by
   22 supplying the physical devices that facilitate, enable, and create direct links between
   23 TickBox TV customers and the infringing operators of the streaming services, and
   24 by actively inducing, encouraging and promoting the use of its devices for blatant
   25 copyright infringement.
   26            54.   Defendants’ intentional inducement of the infringement of Plaintiffs’
   27 rights in each of their Copyrighted Works constitutes a separate and distinct act of
   28 infringement.
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    1            55.   Defendants’ inducement of the infringement of Plaintiffs’ Copyrighted
    2 Works is willful, intentional, and purposeful, and in disregard of and with
    3 indifference to the rights of Plaintiffs.
    4            56.   As a direct and proximate result of the infringement that Defendants
    5 intentionally induce, Plaintiffs are entitled to damages and TickBox’s profits in
    6 amounts to be proven at trial.
    7            57.   Alternatively, at their election, Plaintiffs are entitled to statutory
    8 damages, up to the maximum amount of $150,000 per work infringed by virtue of
    9 Defendants’ willful inducement of infringement, or for such other amounts as may
   10 be proper under 17 U.S.C. § 504.
   11            58.   Plaintiffs further are entitled to recover their attorneys’ fees and full
   12 costs pursuant to 17 U.S.C. § 505.
   13            59.   As a direct and proximate result of the foregoing acts and conduct,
   14 Plaintiffs have sustained and will continue to sustain substantial, immediate and
   15 irreparable injury, for which there is no adequate remedy at law. Unless enjoined
   16 and restrained by this Court, Defendants will continue to induce infringement of
   17 Plaintiffs’ rights in their Copyrighted Works. Plaintiffs are entitled to injunctive
   18 relief under 17 U.S.C. § 502.
   19                               SECOND CAUSE OF ACTION
   20           (Contributory Copyright Infringement by Knowingly and Materially
   21            Contributing to the Infringement of Plaintiffs’ Copyrighted Works,
   22                                      17 U.S.C. §§ 106(1))
   23            60.   Plaintiffs incorporate herein by reference each and every averment
   24 contained in paragraphs 1 through 49 inclusive.
   25            61.   Defendants have actual or constructive knowledge of third parties’
   26 infringement of Plaintiffs’ exclusive rights under the Copyright Act. Defendants
   27 knowingly and materially contribute to such infringing activity.
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    1            62.   Defendants knowingly and materially contribute to the infringement of
    2 Plaintiffs’ exclusive rights under the Copyright Act, including infringement of
    3 Plaintiffs’ exclusive right to publicly perform their works. Defendants design and
    4 promote the use of TickBox TV devices to connect customers to unauthorized
    5 online sources that stream Plaintiffs’ Copyrighted Works. The operators of these
    6 source repositories directly infringe Plaintiffs’ public performance rights by
    7 providing unauthorized streams of the works to the public, including to TickBox’s
    8 customers. The operators, or others operating in concert with them, control the
    9 facilities and equipment used to store and stream the content, and they actively and
   10 directly cause the content to be streamed when TickBox TV customers click on a
   11 link for the content.
   12            63.   Defendants knowingly and materially contribute to the aforementioned
   13 acts of infringement by supplying the physical devices that facilitate, encourage,
   14 enable, and create direct links between TickBox TV customers and infringing
   15 operators of the streaming services, and by actively encouraging, promoting, and
   16 contributing to the use of its devices for blatant copyright infringement.
   17            64.   Defendants’ knowing and material contribution to the infringement of
   18 Plaintiffs’ rights in each of their Copyrighted Works constitutes a separate and
   19 distinct act of infringement.
   20            65.   Defendants’ knowing and material contribution to the infringement of
   21 Plaintiffs’ Copyrighted Works is willful, intentional, and purposeful, and in
   22 disregard of and with indifference to the rights of Plaintiffs.
   23            66.   As a direct and proximate result of the infringement to which
   24 Defendants knowingly and materially contribute, Plaintiffs are entitled to damages
   25 and TickBox’s profits in amounts to be proven at trial.
   26            67.   Alternatively, at their election, Plaintiffs are entitled to statutory
   27 damages, up to the maximum amount of $150,000 per work infringed by virtue of
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    1 Defendants’ willful, knowing, and material contribution to infringement, or for such
    2 other amounts as may be proper under 17 U.S.C. § 504.
    3            68.   Plaintiffs further are entitled to recover their attorneys’ fees and full
    4 costs pursuant to 17 U.S.C. § 505.
    5            69.   As a direct and proximate result of the foregoing acts and conduct,
    6 Plaintiffs have sustained and will continue to sustain substantial, immediate and
    7 irreparable injury, for which there is no adequate remedy at law. Unless enjoined
    8 and restrained by this Court, Defendants will continue to knowingly and materially
    9 contribute to the infringement of Plaintiffs’ rights in their Copyrighted Works.
   10 Plaintiffs are entitled to injunctive relief under 17 U.S.C. § 502.
   11                                   PRAYER FOR RELIEF
   12            WHEREFORE, Plaintiffs pray for judgment against Defendants and for the
   13 following relief:
   14            1.    For Plaintiffs’ damages and TickBox’s profits in such amount as may
   15 be found; alternatively, at Plaintiffs’ election, for maximum statutory damages; or
   16 for such other amounts as may be proper pursuant to 17 U.S.C. § 504(c).
   17            2.    For preliminary and permanent injunctions (a) enjoining Defendants
   18 and their officers, agents, servants, employees, attorneys, and all persons acting in
   19 active concert or participation with them, from publicly performing or otherwise
   20 infringing in any manner (including without limitation by materially contributing to
   21 or intentionally inducing the infringement of) any right under copyright in any of
   22 Plaintiffs’ Copyrighted Works, including without limitation by publicly performing
   23 those Works, or by distributing any software or providing any service or device that
   24 does or facilitates any of the foregoing acts; and (b) impounding all TickBox TV
   25 devices in Defendants’ possession, custody, or control, and any and all documents
   26 or other records in Defendants’ possession, custody, or control relating to
   27 Defendants’ contribution to and inducement of the infringement of Plaintiffs’
   28 Copyrighted Works.
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    1            3.    For prejudgment interest according to law.
    2            4.    For Plaintiffs’ attorneys’ fees and full costs incurred in this action
    3 pursuant to 17 U.S.C. § 505.
    4            5.    For all such further and additional relief, in law or in equity, to which
    5 Plaintiffs may be entitled or which the Court deems just and proper.
    6                                DEMAND FOR JURY TRIAL
    7            Plaintiffs demand a trial by jury on all issues triable by jury.
    8
    9 DATED: July 6, 2018                       MUNGER, TOLLES & OLSON LLP
   10
   11                                           By: /s/ Kelly M. Klaus
   12                                               KELLY M. KLAUS
                                                Attorneys for Plaintiffs
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        FIRST AMENDED
      COMPLAINT EXHIBIT A
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                      Representative List of Works Available on TickBox TV

                                                              Registration
   Title                      Copyright Registrants                          Registration Date
                                                              Number
   The Purge: Election        Universal City Studios
                                                              PA1-995-003            7/11/2016
   Year                       Productions LLLP
                              Universal City Studios
   Despicable Me 3                                            PA2-043-544            6/27/2017
                              Productions LLLP
                              Universal City Studios
   The Boss                                                   PA1-993-610             4/7/2016
                              Productions LLLP
                              Universal City Studios
   Jurassic World             Productions LLLP; Amblin        PA1-946-359            6/10/2015
                              Entertainment LLC
                              Columbia Pictures Industries,
   The Shallows                                               PA1-993-394            7/13/2016
                              Inc.
                              Columbia Pictures Industries,
   Miracles from Heaven                                       PA1-981-803             4/7/2016
                              Inc.
   Spiderman:                 Columbia Pictures Industries,
                                                              PA2-044-059             7/7/2017
   Homecoming                 Inc.
                              Columbia Pictures Industries,
   Rough Night                                                PA2-041-774            6/30/2017
                              Inc.
   Smurfs: The Lost           Columbia Pictures Industries,
                                                              PA 2-029-508           4/21/2017
   Village                    Inc.
   Pete’s Dragon              Disney Enterprises, Inc.        PA1-998-053            8/26/2016

   The Finest Hours           Disney Enterprises, Inc.        PA1-989-069            5/27/2016

   Maleficent                 Disney Enterprises, Inc.        PA1-899-203            6/10/2014
   Alice Through the
                              Disney Enterprises, Inc.        PA1-991-651            6/28/2016
   Looking Glass
   Into the Woods             Disney Enterprises, Inc.        PA1-932-175            2/11/2015
                              Twentieth Century Fox Film
   Independence Day:
                              Corporation; TSG                PA1-994-450            7/22/2016
   Resurgence
                              Entertainment Finance LLC
                              Twentieth Century Fox Film
   Deadpool                   Corporation; TSG                PA1-977-152             3/4/2016
                              Entertainment Finance LLC
   Ice Age, Collision         Twentieth Century Fox Film
                                                              PA1-995-002            7/27/2016
   Course                     Corporation
                              Twentieth Century Fox Film
   Ice Age: The Meltdown                                      PA1-306-625            3/31/2006
                              Corporation


                                                                                   Exhibit A
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                                                            Registration
   Title                       Copyright Registrants                       Registration Date
                                                            Number
                               Twentieth Century Fox Film
   War for the Planet of the
                               Corporation; TSG             PA2-044-947            7/25/2017
   Apes
                               Entertainment Finance LLC
   Paranormal Activity:        Paramount Pictures
                                                            PA1-960-100           10/23/2015
   The Ghost Dimension         Corporation
                               Paramount Pictures
   Zoolander 2                                              PA1-974-008            2/16/2016
                               Corporation
   13 Hours: The Secret        Paramount Pictures
                                                            PA1-969-757            1/19/2016
   Soldiers of Benghazi        Corporation
                               Paramount Pictures
   Whiskey Tango Foxtrot                                    PA1-977-149             3/4/2016
                               Corporation
                               Warner Bros. Entertainment
   Wonder Woman                Inc.; Ratpac-Dune            PA2-036-078             6/6/2017
                               Entertainment LLC
                               Warner Bros. Entertainment
   Batman v. Superman:
                               Inc.; Ratpac-Dune            PA1-981-624            3/30/2016
   Dawn of Justice
                               Entertainment LLC
                               Warner Bros. Entertainment
   Dunkirk                     Inc.; Ratpac-Dune            PA2-044-585            7/20/2017
                               Entertainment LLC
   Harry Potter and the        Warner Bros. Entertainment
                                                            PA1-721-904             3/4/2011
   Deathly Hallows Part 1      Inc.
                               Warner Bros. Entertainment
   Suicide Squad               Inc.; Ratpac-Dune            PA1-995-698             8/4/2016
                               Entertainment LLC
   Bosch, Season 1,            Amazon Content Services
                                                            PA2-000-165            2/10/2016
   Episode 1                   LLC
   The Man in the High
                               Amazon Content Services
   Castle, Season 1,                                        PA2-006-699            1/15/2015
                               LLC
   Episode 1
   Transparent, Season 1,      Amazon Content Services
                                                            PA1-930-949            12/3/2014
   Episode 1                   LLC
   Mozart in the Jungle,       Amazon Content Services
                                                            PA1-963-304            3/23/2015
   Season 1, Episode 1         LLC
   Bosch, Season 1,            Amazon Content Services
                                                            PA2-000-165            2/10/2016
   Episode 1                   LLC
   The Oa, Season 1,
                               Netflix Studios, LLC         PA2-029-045            1/18/2017
   Episode 1

                                                                                 Exhibit A
                                                                                  Page 23
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                                                     Registration
   Title                     Copyright Registrants                  Registration Date
                                                     Number
   Santa Clarita Diet,
                             Netflix Studios, LLC    PA2-028-853             2/3/2017
   Season 1, Episode 1
   Stranger Things, Season
                             Netflix Studios, LLC    PA2-009-908            9/26/2016
   1, Episode 8
   Wet Hot American
   Summer: First Day of
                             Netflix Studios, LLC    PA1-996-639            4/19/2016
   Camp, Season 1,
   Episode 1
   Easy, Season 1, Episode
                             Netflix Studios, LLC    PA2-009-863            9/26/2016
   1




                                                                          Exhibit A
                                                                           Page 24
